                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA

IN RE:                                      )
CAMP LEJEUNE WATER LITIGATION )                               7:23-cv-00897
                                            )
                                            )                 CONSENT MOTION TO
This Document Relates To:                   )                 COMPEL PLAINTIFF ANDREW
                                            )                 PRZENKOP’S DEPOSITION
Andrew Przenkop v. United States of America )                 TESTIMONY
Case No. 7:23-cv-1435                       )



       Pursuant to Federal Rule of Civil Procedure 26 and Local Rule 7.1, the Parties move the

Court for an order compelling Plaintiff Andrew Przenkop to testify regarding the reason he left his

position with the Polk County Sheriff’s Office (the “Sheriff’s Office”), including testimony related

to a settlement with the Sheriff’s Office that included a confidentiality agreement. The Parties have

met and conferred; the United States is authorized to represent that Plaintiff consents to the relief

requested.

       In support of this Motion, the Parties submit and rely upon the accompanying

Memorandum in Support attached hereto.



Dated: May 23, 2024                                   Respectfully Submitted,


                                                      THE UNITED STATES OF AMERICA

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                                                      J. PATRICK GLYNN
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                                  /s/ Nathan J. Bu
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2024, a copy of the foregoing document was served on all

counsel of record by operation of the court’s electronic filing system and can be accessed through

that system.

                                                                   /s/ Nathan J. Bu
                                                                   Nathan J. Bu




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